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                             UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISIO


UNITED STATES OF AMERICA
                                                                3:20-cr-203-JO
               v.
                                                     MISDEMEANOR INFORMATION
ANDREW STEVEN FAl)LKNER,
                                                    18 U.S.C. § lll(a)(l)
               Defendant.


                      THE UNITED STATES ATTORNEY CHARGES:

                                          COUNT l
                                (Assault on a Federal Officer)
                                   (18 U.S.C. § lll(a)(l))

       On or about July 5, 2020, in the District of Oregon, defendant A DREW STEVE

FAULKNER, did forcibly assault Adult Victim 1 (AVl), a person designated as a federal

officer under 18 U.S.C. § 1114, while AVl was engaged in, and on account of the performance

of, AVl's official duties;

       In violation of Title 18, United States Code, Section 111 (a)(l ), a Class A Misdemeanor.

Dated: July 6, 2020

                                                    BILLY J. WILLIAMS
                                                    United States Attorney


                                                    CRAIG J. GABRlE
                                                    Assistant United St es Attorney

Information                                                                               Pagel
